
Chancellor J. Johnstoií
delivered the opinion of the court.
The court does not feel prepared to give an opinion on the first point discussed, by the chancellor, who tried this cause. The question is not, really, as it has often been conceived to be, whether a ship may be the subject of partnership : for no doubt any species of property, whatever, may be held in partnership. But the ques. tion is, whether a ship, owned in distinct shares, and employed in trade, is, as between the owners, partnership property, or liable to be so regarded by creditors, beyond certain specified limits. On this point the court gives no opinion, because it is entirely satisfied, that the plaintiffs are entitled, as creditors in possession, to the decree they have obtained.
. The motion is dismissed.
J. JOHNSTON.
Petigrtt, for motion.
King, contra.
Filed 13th March, 1837.
We concur,
DAVID JOHNSON,
WM. HARPER,'
